     Case 3:21-cr-00366-S Document 41 Filed 08/23/22                Page 1 of 3 PageID 220



                           United States District Court
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                § CRIMINAL ACTION NO. 3:21-CR-00366-S
                                                  §
YAROSLAV VASINSKYI (01)                           §

                            SENTENCING SCHEDULING ORDER

        To ensure that the Court can be fully prepared in advance of the sentencing hearing, the

following dates and deadlines are set pursuant to Federal Rule of Criminal Procedure 32(b):

                                     Filing                                    Deadline

      Initial Presentence Investigation Report (“Initial PSR”)             October 27, 2022

      Written statement adopting or objecting to the Initial PSR         November 10, 2022
      Responses to objections to the Initial PSR affecting the
                                                                         November 17, 2022
      advisory guideline range, if any
      Final Presentence Investigation Report and Addendum
                                                                         November 24, 2022
      (“Final PSR and Addendum”)
      Motions seeking departures or variances from the advisory
                                                                          December 1, 2022
      guidelines range, if any
      Responses to motions seeking departures or variances, if any        December 8, 2022

      All other written materials                                         December 8, 2022
      Notice certifying all written materials have been filed; or
                                                                          December 8, 2022
      motion seeking leave to file late-filed documents


        1.     Sentencing will be on December 15, 2022, at 1:30 p.m.

        2.     The Initial PSR must be disclosed to the Court, Defendant, and counsel of record

for all parties on or before October 27, 2022.

        3.     The parties must file a written statement either adopting or objecting to the Initial

PSR’s findings and conclusions on or before November 10, 2022. Any statement objecting to the
   Case 3:21-cr-00366-S Document 41 Filed 08/23/22                  Page 2 of 3 PageID 221



Initial PSR must specifically state each objection and identify the paragraph number and

substantive portion in the Initial PSR corresponding to the objection.

       4.      If a party seeks to respond to any objections to the Initial PSR affecting the advisory

guideline range, that party must file a written response on or before November 17, 2022.

       5.      If any party filed timely written objections to the Initial PSR, the Probation Office

must file the Final PSR and Addendum on or before November 24, 2022.

       6.      Any motions seeking departures or variances from the advisory guidelines range

must be filed on or before December 1, 2022. Any responses to such motions must be filed on or

before December 8, 2022.

       7.      Any other written materials, such as sentencing memoranda, must be filed on or

before December 8, 2022.

       8.      On or before December 8, 2022, each party must file either: (1) a Notice certifying

that all written materials have been filed on behalf of that party; or (2) a motion seeking leave to

file late-filed documents identifying with specificity what written materials remain forthcoming.

       9.      Unless specifically stated otherwise, any order continuing the sentencing hearing

shall proportionately extend the deadlines described herein that have not yet passed.

       10.     In any case in which 18 U.S.C. §§ 3663-64 apply, counsel for the Government shall

provide, if not already provided, within five (5) court days from the date of this Order, to the

Probation Office all information necessary for the Probation Office to comply with crime-victim

restitution requirements.

       11.     If, during the presentence report investigation, it is determined that Texas Juvenile

Justice Division (“TJJD”) records are needed, the Court orders the TJJD to release these records

to the probation officer assigned with preparing the Initial PSR and/or the Final PSR and



                                                 2
   Case 3:21-cr-00366-S Document 41 Filed 08/23/22               Page 3 of 3 PageID 222



Addendum, acting in the performance of the officer’s official duties pursuant to Federal Rule of

Criminal Procedure 32. The specific records that are to be released include documents pertaining

to Defendant’s social history, court-disposition records, substance abuse treatment records,

psychological evaluations, other mental health treatment records, educational records, general

health records, adjustment-while-incarcerated records, and release dates from the TJJD.

       SO ORDERED.

       SIGNED August 23, 2022.




                                                    ____________________________________
                                                    KAREN GREN SCHOLER
                                                    UNITED STATES DISTRICT JUDGE




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